Case 4:16-cv-00052-RSB-CLR Document 66-6 Filed 12/07/16 Page 1 of 25

Vbwd Party Yharmacy Preseripton Admunslrative Charge
, , » CY 2046 Average Administralive Cost for Prescriptions

“(hi puivww.va.gov/CBO/payerinfofavgadmincostixcy16.asp}

+. CY 2015 Average Administrative Cost for Prescriptions
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» CY 2014 Average Administrative Cost for Preserpttons:
(hUp:/Awww.va.gov/CBO/payerinfofavgadmincostrxey14.asp)

Cost-Based and Interagency Rates

Cost Based Interagency Federal Register Notice, 07/07/16 {PDF) (hllps:/vavw. ope. gov/fdsys/pkg/FR-
© 2018-07-07 pd (12016-15956, pdf) ‘

Cost Based Interagenoy Federal Register Notlee, 11/04/14 (PDF) (hlipvAeww.gpo.govildsys/pkg/FR-2014-
* 1f-O4/pdf(2014-26148, pdf) .

Cosi Based interagency Federal Register Notlee, O7/11/44 (PDF) (ntlp:/van.gpo.govfdsys/okgiFR-204, -
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Veterans Crisis Line: (httpdAwnu.vetoranscrisisiine.net/)
1-800-273-8255 (tel:+ 18002738255) (Press 4)

Social Media

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VA HOME

 

QUICK LIST

 

RESOURCES

 

“ADMINISTRATION

 

U.S. Department of Veterans Alfars | 810 Vermont Avante, NW Washinglon DC 20420
: Last updated July ‘

 

 

 
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TABLE F, — OUTPATIENT FACILITY NATIONWIDE CHARGES BY CPTACPCS CODE

 

 

 

 

 

 

 

PAGE 71 of 169
CPT Stotus! user chaye
HCPCS Desorption Usage
Code” “ reat Reston CrD® | ethology?
60850 PRO IMPLTd NSTIM ELECTRODE ARRAY EPIDURAL — . . $21,925.21 TAPC
63855 LAM IMPETJ NSTIM ELTROS PLATEIPADDLE EORL, $4,550.16 [APG
63684 RMVL. SPINAL NSTIM ELTRO PRO ARRAY INCL FLUOR . $077.46 [APG
63862 RMVE SPINAL NSTI ELTRO PLATE;PADDLE INCL FLUOR $19,149.97 FAPC
83863 REVI INCL RPLOMT NSTIM ELTRO PRO RAINCL FLUOR * $21,925.21 {APC
an6ed REVJINCL RPLCMT NSTIM ELTRO PLTPOLE NCL FLUOR $71,028.91 IAPC
63685 INSJRPLCMT SPI NPGR DIRANOUXIVE COUPLING . $53,483,40 JARO
63888 REVJIRMVL IMPLANTED SPINAL NEUROSTIM GENERATOR , $12,149.07 JAPC
6aP4t GRTY SHUNT LMR SARACH-PRTL-PLEURAL PROX LAM $17,171.61 IAPC
63744 RPLCHT IRRIGATIONIREVY LUMBOSARACH SHUNT - SIZATELSE JAPC
83748 RAIVL ENTIRE LUMBOSARACH SHUNT SYS WO RPLONT $3,977.18 APC
4400 NX ANES TRIGEMINAL NRV ANY DIVBRANCH $4,023.18 TAPS
a4dga INJECTION ANESTHETIC AGENT FACIAL NERVE , $42683 {ape
64405 INJECTION ANESTHETIC AGENT GREATER COCIFITAL NRV $1,767.91 [Other
64408 INJECTION ANESTHETIC AGENT VAGUS NERVE , $4,023.46 {APC
64440 IWECTION ANESTHETIC AGENT PHRENIC NERVE : . $5,865.73 IAPC
64413 INJECTION ANESTHEHG AGENT CERVICAL PLEXUS $3,758.87 IAPC
$4446 SINGLE HERVE BLOCK INJECTION ARM NERVE $6,048.03 [APC
64416 INJECTION ANES BRACHIAL PLEXUS CONT NFS CATH $5,095.03 1APG
oddt? INJECTION ANESTHETIC AGENT AMLLARY NERVE $3,708.87 [Apc
64416 INJECTION ANESTHETIC AGENT SUPRASCAPULAR NERVE $3,768.87 {APC
84409 INJECTION ANESTHETIC AGBHT 4 INTERGOSTAL NERVE" $3,768.87 APG
84121 MULTIPLE NERVE BLOCK INJECTIONS RIB NERVES $3,758.87 {APC
64425 INJECTION ANES ILOINGUINAL IUOHYPOGASTRICRRVS $a75ae7 lApS
64430 INJECTION ANESTHETIC AGENT PUDENDAL HERVE $9,758.87 [APC
64135 | INJECTION ANESTHETIC PARACERVICAL UTERINE NERVE $3,753.87 |are
64446 INJEGTION ANESTHETIC AGENT SCIATIC NRY SINGLE $3,268.87 jAPC
8446 INJECTION ANES SCIATIC NERVE CONT INFUSION CATH : $5,305.03  |APO
G4td7 INJECTION ANESTHETIC AGENT FEMORAL NERVE SINGLE $3,768.87 {APC
64448 INJECTION ANES FEMORAL NERVE CONF INFUSION GATH $5,305.03 APG
4449 INJECTION ANES LUMBAR PLEXUS POST CONTNESCAIH $5,395.43 |APC
64450" | INJECTION ANES OTHER PERIPHERAL NERVEIBRANCH $1,757.95 Othe
64455 UX ANES2/STEROID PLANTAR CONMON DIGITAL NERVE ’ $1,023.16 [Apo
64464 PVE THORACIC SINGLE INJECTION SITE WING GIG $3,055.73 IAPC
84463 PV8 THORACIC CONT CATHETER INFUSIGH WAI4G GID $3,655.73 |APC
84479 NIX ANEGBISTRO WANG TPRML EDRL CRVTHRG 1 EM. $3,768.87 [APC
84480 NIX ANESE/STRO WANG TFRML EORL CRYTHRC EA LV $4,25344 [FAIR Health
64483 NUX ANES@/STRE WANG TFRML EPRI LMBRISAC 4 EYL $3,758.87 APC
64484 NUX ANESAISTRO WANG TFRHL EDRL LHGRISACEA LY ' $4,059.44 |FAIRHeallh
84488 TAP BLOCK UNILATERAL BY INJEGTION(S} $2,000.05 |FAIRHeslth
64487 TAP BLOCK UNILATERAL BY CONTINUOUS INFUSTON(S) $2,030.08 IFARHealth
64488 TAP BLOCK BILATERAL BY INJECTION(S} $2030.05 jFARHe=Ith
84489 TAP BLOCK BILATERAL BY CONTINUOUS INFUSIONS) $2000.05 [FAIRHedlh
84490 UX DWTHER AGT PVRT FACET JT CRVTHRC f LEVEL . $5,305.03 fAPC
449] NX DMATHER AGT PYAT FACET JT CRVTHRG DUD LEVEL . $4924.81 loner
64492 NUX OX/THER AGT PVRT FACET Jf GRVITHRG 34 LEVEL $3024.61 {Other
84493 | NUXDX/THER AGT PVRT FACBY JT LMBRISAC | LEVEL $5395.03 {APC
84404 NOX DXTHER AGT PVRT FACET IT LHBRIGAG 2ND LEVEL $3.82481 lother
84495 NUK OX/THER AGT PYRT FACET JT LHBIVSAC 3+ LEVEL $3,024.51+ [Other -
1505 INJEGTION ANES AGENT SPHENOPALATINE GANGUON _¢ $1,003.16 [aPC

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; TABLE F. — OUTPATIENT FACILITY NATIONWIDE CHARGES 8Y CPTACPCS CODE

 

 

PAGE 169 of 169 ‘
CPi Status! ale Charge
HCPCS - Description Usage | peacion | te19 tehedcony ?
Code Indiestor austen
$9542 | HIINJ HOC PER DIEM 6 $18.29 loner
9580 | HY INI HORMONE OEM 3 $95.47 |Oher
sasg2 | HT INE PAUMIZUMAB DXEM ¢” $9587 foner
$9590 | RTIRRIGATION OFM a $1370 fOhee
veous | HEARIYG SCREENING @ $267.60. fiarketScan
VéOI0 | ASSESSMENT FOR HEARING Alo 8 $3544 [tdarketScan

 

 

 

 

 

 

 

' Key to Slalus/Usege Indicator:

a; Cannot be billed by VA non-provider-based dlinios, because the charga fs Included in the assoclated profasslonal cheige.

b; Cannot ba billed by VA non-providar-baged clinica, bacause a technical component chaige from ihe professionel charge lable applies,
¢: Cen be biled by VA non-provider-based clinics,

d: Cannot be billed by VA non-providar-based clinics, because a different code fs used for professional billing,

& Cannot be billed by VA non-provider-based ciintss, because a stand-alone charge fromihe professienal charge lable applies,

i Can be bifed for pallenis whe are subsequently admllied to fhe hospital.

 

 

 

2 Charge Methodology:

5% Sample: Charge developed from Medicare §% Sample Quipatlent dalabase,

APG; Charge devaloped from Madicare 5% Sample Ouipattent database using APC Halhovology
MarkelScan: Charge devatopad ftom MarkelScan database.

FAIR Heatlin: Charge davetoped fran FAIR Health's Medical Dala Research database,

Olhar Charge from DME or Physician tables or other fechatques Including crosswalks.

Trended ¥3.16: v3,16 charge trended forward to 2016,

 

 

HOTE: CPT Codes and dasedpgrsdrdy se coast ls Amacken Medical Asodlaion, Ad dhs reserved, Apgicatts FARSDFARS apply.
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Medicare Fee-For Service
Provider Utilization & Payment Data
Inpatient

Public Use File:
A Methodological Overview

June 14, 2016

Prepared by: .
The Centers for Medicare and Medicaid Services,
* Office of Enterprise Data and Analytics

 

 

 

 
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Case 4:16-cv-00052-RSB-CLR Document 66-6 Filed 12/07/16 Page 6 of 25

I, Background

As part of the Obama Administratlon’s efforts to make our healthcare system more transparent,
affordabie, and accountable, the Centers for Medicare & Medicald Services (CMS} has prepared a public
data set, the Provider Utilization and Payment Data inpatient Public Use File (hereln referred toas
“Inpatient PUP”), with information on services and procedures provided to Medicare benefictarles by
hospital factlitles. The inpatlent PUF contains hospital-specific charges for the more than 3,060 U.S,
hospitals that receive Medicare Inpattent Prospective Payment System (PPS) payments pald under
Medicare based on a rate per discharge usiig the Medicare Severity Diagnosis Related Group (MS-ORG),
~ Beginning with FY2014 data, all MS-ORG discharges are now reported In the [npatlent PUF, Prior yaars of
the Inpatient PUF (FY2014 through FY2043) are IImited to the top 100 most frequently billed discharges,
This PUF Is based on Information from CMS‘s Medicare Provider Aualysts and Review (MEDPAR)
Inpatient data. The date In the Inpatient PUF contains 100% final-action (1a, all claim adjustments have
been resolved) (PPS discharges for the Medicare fee-for-service {FES} population, The Inpatient PUF Is
available for fiscal years 20114 through 2014.

2, Key data sources

The primary data source for thesa data Is CMiS’s MEDPAR Inpatient data based on fiscal year (Qctober
through September 30"), The NCH MEDPAR data contaln £00 percent of Medicare final action
discharges for benefictarles who are enrolled In the FES program as well as some managed care
discharges. The types of discharges in the MEDPAR Inpatlent data include: [PPS short term, long term
care, critical access hespltal, rellglous non-medical, rehabilitation and psychiatric. Discharges, covered
charges, total paynients and MS-ORG Information presented In the Inpatient PUF are restricted to IPPS
short term hospitalizations for the FFS population,

inpatient provider demographics are also incorporated in the Inpatient PUF and include name, complete
address and hospitaj referral region (HRR}, The Inpattent provider name and address are dered from
CMS's Provider of Service (POS} data, a resource that provides characterlstics assoclated with
institutional facilitles, HRRs are geographic units of analysis based on facillty location zp cades that
were daveloped by the Dartmouth Atlas of Health Care to delineate ragionat health care markets fn the
United States, For additional Information on the POS data, please vislt hitp://wavw.cms. gov/Research-
Statlstics:Data-and-Systems/flles-for-Order/NonidentifiableDatatlles/ProviderofservicesFile.htmi. For

additional information on HR, please visit hittn://vawww.dartmouthatias org/data/region/,

3, Population -

The inpatient PUF Includes data on for EES benefictarles from ifipatient providers that submitted
Medicare Part A IPPS short term Institutional claims during the fiscal year, To protect the privacy of
Medicare beneficlartes, any aggregated records which are derived from 40 or fewer discharges are
excluded from the Inpatient PUF, .

 

 

 
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4, Classification and Summarization

The spending and utiflzatton data in the Inpattent PUF are ageregated to the following levels:

a) the provider Identifier, and
b} Medicare Severity Diagnosls Related Group (MS-DRG}

The provider Identifler Is the numeric CMS Certification Number (CCN) assigned to a Medicare certified
facility. MS-DRGs are a classifleation system that groups similar clinieal conditlons {diagnoses} and the
procedures furnished by the hospital during the stay. Each hospital discharge Is assigned to an MS-DRG,
There can be multiple records for a glven provider identifier hased on the number of distinct MS-DRG
codes that were bifled,

5, Data Contents

Detailed Data File
The following varlables are Included in the detalled Inpatlent PUF data file:

DRG Definition; The code and description identifying the MS-DRG, MS-DRGs are a classificatton system
that groups similar clinical conditions (dlagnoses) and the procedures furnished by the hospital during
the stay, . :

Provider id: The CMS Certification Number {CCN} assigned to the Medicare certitied hospital facility.
Provider Nata: The name of the provider, |

Provider Street Address: The provider's street address,

Provider City: The city where the provider Is located,

Provider State: The state where the provider Is located,

Provider Zip Code: The provider's zp code,

Provider HRR: The Hospital Referral Region (HRR} where the provider is located,

Total Discharges: The number of discharges billed by the provider for inpatlant hospital services.

" Average Covared Charges: The provider's average charge for services covered by Medicare for all
discharges inthe MS-DRG. These will vary fram hospttal to hospital because of differences In hospital
charge structures, .

Average Total Payments: The average total payments to all providers for the MS-DAG Including the Ms--
ORG amount, teaching, disproportionate share, capital, and outller payments for all cases, Also Included

 

 

 
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In average total payments are.co- payment and deductible amounts that the patlant is responsibla for
and any additional payments by third parties for coordination of benefits,

Average Medicare Payments: The average amount that Medicare pays to the provider far Madicare's
share of the MS-DRG, Average Medicare payment amounts Include the MS-DRG amount,

teaching, disproportionate share, capital, and outller payments for all cases. Med!care payments DO
NOT Include beneficiary co-payments and deductible amounts nor any additional payments from third
partles for coordinatlon of benefits, Note: In general, Medicare FFS claims with dates-of-service or
dates-of-discharge on or after April 1, 2043, Incurred a 2 percent reduction In Medicare payment, This{s
in response to mandatory across-the-board reductions In Federal spending, also known as
sequestration, For additional information, visit http://www, cms. zov/Outreach-and-
Education/Outreach/FFSPravPartProg/Downloads/2013-03-08-standalone.pdf

Summary Tables ;

Summary tables have heen created to suppiement the Information reported in the Inpatient PUF.
"National and State Summaries of Inpatient Charge Data” contains Information on discharges, payments
{total arnount and Medicare payment}, aud submitted charges organized by MS-DRG In the national
table and organized by MS-DRG and provider state In the state table. The aggregated reports are not
restilcted to tha redacted data reported In the Inpatlent PUF but are aggregated based on all Madicare
“IPPS discharges.

More detailed information on the “Natlonal and State Summaries of Inpatient Charge Data” are
provided In the Methodology and Documentation tabs of the workbook.

6. Data Limitations:

Although the Inpatient PUF has a wealth of payment and utilization Informetion about many Medicare
Part A services, the dataset also has some !lmitations that are-worth noting.

The data inthe inpatient PUF may hot he representative of a hospital's entire population served, The
data in the file only has Information for Medicare heneficlarles with Patt A fee-for-service coverage, but
hospitals typically treat many other pattents who do not have that form of coverage. The Inpatient PUE
does not have any information on patients wha are not covered by Medleare, such as those with
coverage from other federal programs (like the Federal Employees Health Beneflts Program or Tricare},
those with private health insurance (such as an Individual policy or employer-sponsored coverage}, or
those who are untnsured. Even within Medicare, the Inpatient PUF dees nat Include information for
patients who are enrolied |n any form of Medicare Advantage plan. Importantly, the data for FY 2011,
through FY 2013 are limited to only the top 400 MS-DRGs and thus do not necessarily include all
Medicare discharges frorn a glvan hospital.

The file only contains cost and utilization information, and for the reasons described in the preceding
paragraph, the volume of procedures presented may not be fully Inclusive of all procedures performed
by the hospital, .

 

 

 
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The state of Maryland has a unique walver that exempts it from Medicare’s prospective payntent
systems for Inpatient care, Maryland Instead uses an all- “payer rate setting commission to determine its
payment rates, Medicare claims for hospitals in other states break out additional payments for Indirect
tadical education {IME} costs and disproportionate share hospital (OSH} adjustments.

7, Updates:

june 2016 Undates:

We have updated the Inpatient PUF and the supplemental summary tables (“Natfonal and State
Summaries of Inpatient Charge Data”) for FY2G14 to include ail MS-DRG discharges" from IPPS hospitals,
which In prlor years (FY20141 through FY2043} are limited to only the top 100 MS-DRG discharges.

"Previous year's data (FY2011 through FY2013) have not been re-published to Include alf MS-DRG
discharges, .

 

 

 
Case 4:16-cv-00052-RSB-CLR Document 66-6 Filed 12/07/16 Page 10 of 25

 

inpatiént Prospective Payment System (IPPS) Provider Summary for All Dlagnosis-Relat... {-
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CENTERS FOR MEDICARE & MEDICAID SERVICES

Medicare Fee-For Service
Provider Utilization & Payment Data
Inpatient
Public Use File:

A Methodological Overview

june 14, 2016

Prepared by: -
The Centers for Medicare and Medicaid Services,
Office of Enterprise Data and Analytics

 

 

 

 
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Case 4:16-cv-00052-RSB-CLR Document 66-6 Filed 12/07/16 Page 14 of 25

1. Background

As part of the Obama Admalalstration’s efforts to make our healthcare system more transparent,
affordable, and accountable, the Centers for Medicare & Medicaid Services (CMS) has prepared a public
data set, the Provider Utilization and Payment Data Inpatient Public Use File (herein referrad to as
“inpatient PUP’), with Information on services and procedures provided ta Medicare heneficlartes by
hospital faciilttes, The inpattent PUF contalns hospital-specifie charges far the more than 3,000 US,
hospitals that receive Medicare Inpatient Prospective Payment System (IPPS) payments pald under:
Medlcare based on a rate per discharge using the Medicare Severity Diagnosis Related Group (MS-DR6).-
Beginning with F¥2014 data, ail MS-DRG discharges are now reported In tha Inpatient PUF, Prior years of
the Inpatient PUF (FY2041 through F¥2013) are limited to the top 160 most frequently billed discharges,
This PUE Is based on information fram CMS's Medicare Provider Analysis and Review (MEDPAR) -
Inpatient data, The data in the inpatient PUF contalns 100% final-action (Le., all claim adjustments hava
been resolved) IPPS discharges far the Medicare fee-for-service {FFS) population. The Inpatient PUF Is
avaltable for fiscal years 2011 through 2024, .

2, Key data sources

The primary data source for these data Is CiMS’s MEDPAR inpatlent data based on fiscal year (October 1*
through September 30}, The NCH MEDPAR date contain 100 percent of Medicare final action
discharges for beneficiaries who are enrolled In the FFS program as well as some Managed care
discharges. The types of discharges In the MEDPAR inpatient data Include: IPPS short term, long term
care, critical access hospital, religious non-medical, rehabilitation and psychiatric, Discharges, covered
charges, tatal payments aid MS-DRG Information presented In the inpatient PUE are restricted ta IPPs
short term hospitalizations for the EFS population,

Inpatient provider demographics are also Incorporated In the inpatlent PUE and Include nama, complete
address and hospital referral region (HRR}. The Inpatient provider name and address are derived from
CMS‘s Provider of Service (P08) data, a resource that provides characterlsties associated with

- Instituonal facilities, HRRs sre geographic units of analysts based on facility location ap coded that
were developed by the Dartmouth Atlas of Heaith Care to delineate regtonal health care markets in the

United States, For additional Information on the POS data, please visit htto://Awyw.cms.gov/Research-

Statisties-Data-and-Systems/Flles-for-Order/NonidentiflablaDatatiles/Pro tderofSérvicesFile. html, For

. additional Information on Har, please visit httn://wwwdartmouthatlas.orz/data/reaton/,

3. Population

The Inpatient PUF Includes data on for FFS beneficiaries from Inpatient providers that submitted
Medicare Part A IPPS short term Institutfonal clalmis during the fiscal year, To protect the privacy of

Medicara beneficiaries, any aggregated records which are darived from 10 or fawer discharges ate
excluded from the Inpatlent PUE, . '

 

 

 
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4, Classification and Summarlzation

The spending and utlllzation data In the Impatient PUF are aggregated to the following levels:

a) the provider Identifier, and
b} Medicare Severity Diagnosis Related Group (MS-DRG}

The provider Identifier {s the numeric CMS Certtfication Number (CCN) assigned to a Medicare certified
facility. MS-DRGs are a classification system that groups similar citnical conditions (dlagnoses) and the
procedures furnished by the hospital during ihe stay. Each hospital discharge is assigned to an MS-DRG,
There can be muitiple records for a glven provider identifier based on the number of distinct MS-DRG
codes that were billed, oo

_§. Data Contents

Detailed Data File
The following variables are Included in the detalled Inpatlent PUF data file;

DRG Definition: The code and description identifying the MS-DRG. MS-DRGs are a classification system
that groups similar clintcal conditions (dfagnoses) and the procedures furnishad by the hospital during
the stay.

Provider Id: The CMS Certification Number (CCN) assigned to the Medicare certlfled hospital facility,
Provider Name: Tha name of the provider,

Provider Street Address: The provider's street address,

Provider City: The city where the providar is lacated,

Provider State: The state where the provider |s located,

Provider 2ip Coda: The provider's zip cade. .

Provider HRR: The Hospital Referral Region (HRR) where the provider is Jocated,

Total Discharges: The number of discharges billed by the provider for inpatlent hospital services,

Average Covered Charges: The provider's average charge for services covered by Medicare for all
. discharges In the MS-DRG. These will vary from hospital to hospital because of differences In hospltal
charge structures, : . . .

Average Total Payments: The average total payments to all providers for the MS-PRG Including the Ms-
” DRG amount, teaching, disproportionate share, capital, and outlier payments for all cases, Also Included ,

 

 

 
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In average total payments are co-payment and deductible amounts that the pattent ls responsible for
and any additlonaf payments by third parties for coordination of benefits,

Average Medicare Payments: The average amount that Medicare pays to the provider for Medicare's
share of the MS-DRG. Average Medicare payment amounts Include the MS-DRG amount,

. teaching, disproportionate share, capltal, and outlfer payments for all cases, Medicare payments DO
NOT include beneffclary co-payments and deductible amounts nor any additional payments from third
parties for coordination of benefits, Note: In general, Medicare FFS claims with dates-of-service or
dates-of-discharge on or after April 1, 2043, Incurred a 2 percent reduction In Medicare payment. This fs
in response to mandatory across-the-board eee in Federal spending, also known as
sequestration. For additional information, visit | vcs, gov/Outreach-and-

rdcatlon/ Outreach FSP ovPartecog/Dewnloade/s018 02 GB ee ine nae

Summary Tables

Summary tables have heen created to supplement the Information reported in the inpatlent PUF,
“National and State Summaries of Inpatient Charge Data” contains Information on discharges, payments
{total ammount and Medicare payment), and sabmitted charges organized by MS-DRG In the national
table and organized by MS-DRG and provider state In the state table. The apgregated reports are ot
restricted to the redacted data reported [n the Inpatient PUF but are aggregated based on all Medicare
IPPS discharges,

More detalled information on the “National and State Summaries of Inpatient Charge Data” are
provided in the Methodology and Documentation tabs of the workbook,

6, Data Limitations:

Although the Inpatient PUF has a weaith of payment and ullllzation Informetion about many Medicare
Part Aseivices, the dataset also has some limitations that are worth nating.

The data in the Inpatient PUF may not he representative of a hospitai’s entire population served. The |
dita in the file only has Information for Medicare beneficlarles with Part A fee-for-service coverage, but
hospitals typically treat many other patlents who do not have that form of coverage. The Inpatient PUF
doed not have any information on patlents who-ate nat covered’ by Medicare, such as those with
coverage from other federal programs (lke the Faderal Employees Health Benefits Program or Trleare),
those with private health Insurance {such as an Individual pollcy or employer-sponsored coverage), or
those Who are uninsured. Even within Medicare, the Inpatlent PUF doas not Include Information for
patients who are enrolled In any form of Medicare Advantage plan, Importantly, the data for FY 2014

“through FY 2013 are fimlted to only the top 100 MS-DRGs and thus do not necessarily Include all
Medicare discharges from a glvén hospital,

The fife only contains cost and utilization information, and for the reasons described tn the preceding
paragraph, the volume of procedures presented may not be fully inclusive of all procedures performad
hy the hospital,

 

 

 
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The state of Maryland has a unique walver that exempts it from Medicare's prospactiva payment
systems for Inpatient care. Maryland Instead uses an all-payer rate setting commission to determine Ils
payment rates, Medicare claims for hospitals in other states break out additional payments for fndirect
medical education ({ME) costs and disproportionate share hospital (DSH) adjustments.

7, Updates:

June 2036 Updates:

We have updated the Inpatient PUF and the supplemental summary tables (“National and State
Summaries of Inpatient Charge Data”) for FY2044 to ihelude all MS-DRG discharges frat IPPS hospitals,
Which In prior years (FY2011 through FY2013) are Iimited to only the top 100 MS-ORG discharges,

Previous year’s data (FY2014 through Fy2013) have not heen re-published to Include all MS-DRG
discharges.

 

 

 
 

 

 

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Inpatient Prospective Payment System (IPPS) Provider Summary for Al...

Tha dala provided here include hospltal-specliic chargas for the mare than 3,000 U.S,

Description

The dala provided here Include hospital-spacific charges for the more
than 3,009 U.S, hospltals that receive Medicare Inpatient Prospective ~
Payment System {iIPPS} payments for discharges, pald under Madleara
based on a rate per discharge uslag the Medicara Seveilly Diagnosis
Related Group (AS-DRG) for Fiscal Year (FY) 2014. Thase MS-DRGs
represent more than 7 miillon discharges or 78 percent of total Medicare
IPPS discharges, - *

 

 

 

 

 

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Inpatient Charge Data FY 2074

Tho data provided here include hosplial-epediic charges for ha mere than 3,000 U.S, hospilals thal recalva Aledicara

* Inpallont Prospecthva Paymont System (PPS) payments for discharges, pald under Medicara based on a rate per
Sischange using the Medicare Sevaily Diagnosis Related Group (M19-DRG} for Fiscal Year {FY} 2014, These MS-ORGs
‘oprasent move than 7 milfon dischangas oc 75 percant of tatel Medleara PPS discharges,

Hospitels determing what thay vill dang for emis ond services provided ta pallets and these charges are the
amount the hospliat bats for aq Nem of series. Tha Tolo! Payment amount Indudes the MS-DRG énjount, 1 tolsl per
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umount, banelicary blood deducible amount and ORG outties amount,

For these MS-DRGs, average chargas, avetage total payments, end average Medicare payments are calculated a} the
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within local markets, and naltcawida, for seevices thet might be fumished In conection with a paiticular Inpatlent stay,

05/23/16 UPDATE:

The inpalient Charga Data aad the MS-DRG Summary Tables have been Updated la indade afl M5-DRG discharges
from IPPS hospitals, whlch tn por years (FY2041 though F¥ 2073} are titled to only tha lop 100 HS-ORG
Aschargas,

Previous year's data (FY2041 through FY 2013) have nol been re-published to Include alf MS-ORG discharges,
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“For answers Io any quostions aboul lha data, please sao our Frequently Agkad Questions pago,

Inquites regarding this data can be sent lo MedicaraProvideittatag@iems bhs.qoy.

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Shoe Ane poysnipe Aqauoseas walnduos sagpues peudsoy WaTECNO "Pid promt, Supls ENED quy
SHOZAD wravoduios Apion: jojedtna ‘acwes so dys oseRpOPY spyavopeu Bguesed yg Shseqo abeapu: tnczdog quay
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SLoz Aen SSEQEEP PANG Jona Wea uty SAyvD JOE} WOPSIGAUOD wma wie
gle Aen SSRISPEP POI WINS UNROY wy porsnipe Areoqdesboos ‘aqueaad yigg ‘suopoR] wo}stanucg 30) set
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$L0z oun ISRAEL SOMOH MRI Ulyg ssyvo 7°. {iXe)d) Sc
Shoz sung OSEMEED SOAOH TRIE whys oypads-gare ‘abarine payin ‘saben aXeyg BN
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SL0z aap SS2EIED SOPOH Wes UTyet TEI HagueWad wog ‘sopey aBieyo otek) ang
sLogaunr SPRIREP SOLOY WIESE Utd syanouse aie Nek BNC
Slogeunp ASEIMEP SOMDH MISH ats STAM paseq-auespony Ou YIM Sapiod "sq (wen a
Slog aun BSCQRP SOMO GICSH wy SAM poseQaieopayy Inn Sapoo ‘SAM _ eyo) qe]
shoe eunr PEATE SOISH WISH UTS SVS s0}0G} UOPSTOADDO axeQ) shag
sLocaunr DSETEEP SOIOH MEOH Urys parsnipe AeodoiSoe6 ‘aguaasad ytog ‘siojoey UeIsIoAueD io sige
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saz Aeques SANSH EIVESSE STAY Beseq-aveorpen] OU ipa sepa ‘say io qe}
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spoz Anr paysnipe Ayeuoseas Suauadwoy saunas seepiskyd "fie Prenudy Oeypuag. eo rT
Sioz Ar Poenipe Apenoseas Suauoduos Sodines suemiskyd Tridd pawnta) Bujpuar GXeKs) sony
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$1oz Aor Pejenipz Aneuestas quoucdwos saanns peydsoy jonedine ‘Hag prenuoy Gulpuey Caxeh quay
suozAnp patsnipe Aneuoseas ‘ueanockios sapuas fendsoy juaqedtno “Hg? premoy Burpuay GheXD 300,
Shoe Aine parsnipe Aqeuosees wousdwos ssopves jeqdsaqusgedine "igo preauo, Suoan (Ne) xo

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sroz Aare fasnipe Aleuoseas uovodwos sapmounuos ams apa “pyty prawn; Surpuoy je) Sd
Sto Aap . pasnipe Ajeuosess wenodwuos seajuas euep ‘Ta peng; Suipuen (udfeku) wag
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ShOE AD

 

Wovodwed g Hey “adMUEs ae sys Tea poy)

 

 

S)ROtS-Gerd Shereae payslem “sobiey>

 

 

 

 

GSH) BAG
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SWOZAD ‘aotatixe yom ‘xapet S00 soporte aidedtiong arecrpany STAM Steoppeny OU Ym Sapod “sdywS NAY (ZO shud
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SHEA) sou sojoend Kapulzsog sogoely suudesBooy azo STAY PSEC Rempay) ou YM sdp0o Says NAY (atexn 1
SHEA estadke aoqoed nepul3s0g eopely ondeifiong eserpayy SAM SzIPEY OU TA Sapoe “Sapyyg AA (2) [ «she
SUZ AD osuadko aagoesd cxepurysoD sopra aydesboas arco asuadxe conned “shay alec Wyn sapos ‘savwg fad | ENC shu
SLozsaqepg SPPBINS 434 FN sepa, FIEP MOIR sapog 10} soBrOYyD . Gra awa
Shoesaqema SINPRUNS Sag JWG areatpayy . Sonfen BAER Cited} ang
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SLoz (py aseinep Ane uapedng meaH Uys sAVVO) {ya} | to
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Bands TIE AG PISS = ASPCOOLLSLOT SOMOS BEeA Boy pod
